       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                        JUDGMENT RENDERED AUGUST 27, 2024



                                     NO. 03-23-00747-CR


                              Christian Lee Guzman, Appellant

                                                v.

                                 The State of Texas, Appellee




         APPEAL FROM THE 207TH DISTRICT COURT OF HAYS COUNTY
       BEFORE CHIEF JUSTICE BYRNE, JUSTICES SMITH AND THEOFANIS
                 AFFIRMED -- OPINION BY JUSTICE SMITH




This is an appeal from the judgments of conviction entered by the trial court. Having reviewed

the record and the parties’ arguments, the Court holds that there was no reversible error in the

trial court’s judgments of conviction. Therefore, the Court affirms the trial court’s judgments of

conviction. Because appellant is indigent and unable to pay costs, no adjudication of costs

is made.
